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                      NORTH AMERICA, LLC
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                    8                                 UNITED STATES DISTRICT COURT
                    9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   10
                   11 BARRY BRAVERMAN, HAKOP                                   Case No. 8:16-cv-00966-TJH-PJW
                      DEMIRCHYAN, JOEL GREEN,
                   12 CHEVAY JONES, DR., GLYNDA                                BMW OF NORTH AMERICA,
                      ROBERSON, EDO TSOAR, PETER                               LLC’S OPPOSITION TO
                   13 WEINSTEIN, THOMAS MUNK,                                  PLAINTIFFS’ MOTION TO
                      PETER BERNARD, LAURENCE                                  EXCLUDE THE OPINIONS OF DR.
                   14 CURCIO, NAVEEN PARMESHWAR,                               JONATHAN HIBBARD
                      ADEEL SIDDIQUI, CHARLES
                   15 OLSEN, ROBERT DESATNIK, ERIC
                      WONDERLEY, JOHN                                          Hearing Date:     TBD
                   16 LINGSWEILER, STEVE RIDGES, and                           Time:             UNDER SUBMISSION
                      BRANDON REDMOND,                                         Crtrm.:           9B
                   17                                                          Judge:            Hon. Terry J. Hatter, Jr.
                                   Plaintiffs,
                   18
                            vs.
                   19
                      BMW OF NORTH AMERICA, LLC, a
                   20 Delaware Limited Liability Company
                      and BMW AG, a corporation organized
                   21 under the laws of Germany,
                   22                      Defendants.
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                    4         738 F.3d 960 (9th Cir. 2013) ............................................................................ 4
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                    1 I.         INTRODUCTION
                    2            Plaintiffs’ Motion to Exclude the Opinions of BMW of North America,
                    3 LLC’s (“BMW NA”) expert, Dr. Jonathan Hibbard (“Motion” or “Mot.”), is a
                    4 desperate attempt to avoid unrebutted class member survey evidence that is
                    5 damning to Plaintiffs’ certification bid. The Ninth Circuit in Mazza v. American
                    6 Honda Motor Co., Inc., 666 F.3d 581 (9th Cir. 2012) unambiguously held under
                    7 highly analogous facts that no class may be certified where, as here, the evidence
                    8 shows putative class members’ exposure to and pre-purchase knowledge of
                    9 allegedly “omitted” information varied. Dr. Hibbard’s unrebutted survey supplies
                   10 this precise evidence since it conclusively shows that Plaintiffs’ and their experts’
                   11 foundational and evidence-free assumptions of non-disclosure and classwide
                   12 ignorance are grossly unfounded. Indeed, in their zeal to exclude Dr. Hibbard,
                   13 Plaintiffs make a stunning admission that torpedoes these foundational assumptions
                   14 that are the bedrocks of Plaintiffs’ certification motion. They admit:
                   15                      “public knowledge of a defect increases over time as more
                   16                      information becomes available.…”
                   17 (Mot. at 14:16-18). This is exactly what Dr. Hibbard’s survey shows—that putative
                   18 class members were not uniformly ignorant of how the REx functions and did not
                   19 find the allegedly omitted information material to their decision-making. Simply
                   20 put, Dr. Hibbard’s survey evidence, coupled with Mazza’s binding guidance,
                   21 requires Plaintiffs’ certification motion be denied. And because Plaintiffs have no
                   22 rebuttal evidence on putative class members’ claimed lack of knowledge of Power
                   23 Reduction (their motion is built entirely on evidence-free assumptions), this Motion
                   24 is a transparent and unsupported effort to salvage their far-fetched certification bid.
                   25            The substantive arguments in Plaintiffs’ motion to exclude Dr. Hibbard do not
                   26 help them. Indeed, Plaintiffs’ motion is precisely the type of motion that district
                   27 courts in the Ninth Circuit routinely deny. This is because all of the arguments

LEWIS              28 Plaintiffs advance at best go to the weight and not the admissibility of the expert’s
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                    1 survey findings. Indeed, the Motion all but admits that it seeks extraordinary relief,
                    2 contrary to the weight of authority in this circuit, when it recognizes that expert
                    3 challenges like Plaintiffs’ are often given short shrift by courts. (Mot. at 2:3-4,
                    4 7:15-17). Although styled as a Daubert based motion, Plaintiffs nowhere challenge
                    5 Dr. Hibbard’s qualifications as a survey design expert. Rather, they direct their
                    6 criticisms at various aspects of Dr. Hibbard’s survey by misconstruing key survey
                    7 characteristics. For instance, Plaintiffs repeatedly and erroneously claim the survey
                    8 presents compound questions when in reality, the questions in the survey are very
                    9 simple and straightforward. In reality, Plaintiffs’ primary contention is the survey’s
                   10 pre-question disclosure statement about the BMW i3’s Range Extender is
                   11 compound. This effort to conflate the pre-question survey disclosure and with
                   12 simple post-disclosure questions permeates a majority of the arguments Plaintiffs
                   13 advance to attack Dr. Hibbard’s survey results.
                   14            The Motion’s other arguments are also misleading and proceed on fictional
                   15 grounds that are unsupported by the record. For example, Plaintiffs maintain Dr.
                   16 Hibbard did not conduct a pre-test for his survey.                       Yet the record shows Dr.
                   17 Hibbard’s survey was pre-tested (by way of a “soft launch”) using standard
                   18 methodology. Plaintiffs also direct several subjective arguments at the survey’s
                   19 design, none of which have any bearing on admissibility.                            Even if credited,
                   20 Plaintiffs’ arguments at best are claims as to what weight a finder of fact should
                   21 assign to Dr. Hibbard’s findings. The Motion admits as much. (See, e.g., Mot. at
                   22 2:3-4) (“Plaintiffs recognize that most survey criticisms go to weight and not
                   23 admissibility”).
                   24            Unlike Plaintiffs’ expert, Steven P. Gaskin, who used the wrong tool
                   25 altogether (i.e., a conjoint survey) and faulty assumptions of classwide ignorance
                   26 that even Mr. Gaskin admits could materially impact the reliability of his findings
                   27 (see Dkt. 153, 167), Dr. Hibbard made no such fatal mistake. His consumer survey

LEWIS              28 (like most surveys) showed respondents a brief paragraph statement about a feature
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                    1 in the vehicle they leased or purchased, and followed up with two very
                    2 straightforward and simple questions that tested knowledge and materiality.
                    3 Respondents even had the option to click on a link and view the brief paragraph
                    4 disclosure again after each question and had the option to select the “I don’t know”
                    5 option if they truly did not understand a question or know the answer. The survey
                    6 also contained adequate control measures, which included a “London” control
                    7 question and a “Drone” condition to guard against yea-saying.
                    8            In short, Dr. Hibbard’s survey contains all the necessary hallmarks for an
                    9 admissible survey. Plaintiffs know this, which is why they quibble with the most
                   10 benign imperfections of his survey to avoid facing the harsh reality that most
                   11 consumers (1) knew about the purported Range Extender “defect” in their i3 REx
                   12 prior to purchasing or leasing their vehicle, or (2) did not know about the alleged
                   13 Range Extender “defect,” but would have still purchased or leased their i3 even if
                   14 they knew of it. Plaintiff’s dissatisfaction with the survey results is not a basis for
                   15 survey exclusion. See Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand
                   16 Mgmt., 618 F.3d 1025, 1038 (9th Cir. 2010) (“criticisms, valid as they may be, go to
                   17 ‘issues of methodology, survey design, reliability, . . . [and] critique of conclusions,’
                   18 and therefore ‘go to the weight of the survey rather than its admissibility.’”)
                   19 (citations omitted). This Court should apply the same standard many other district
                   20 Courts in this Circuit have applied when evaluating a plaintiff’s motion to exclude
                   21 expert opinions, and deny Plaintiffs’ Motion.1
                   22
                        1
                   23     See, e.g., Kamakahi v. Am. Soc’y for Reprod. Med., 305 F.R.D. 164, 179 (N.D.
                        Cal. 2015) (denying plaintiffs’ motion to exclude the opinions of defendant’s expert
                   24   and holding that “however inartfully presented, Dr. Hyun’s report is sufficiently
                        relevant and reliable to be admissible for the very limited purpose for which
                   25   Defendants seek to use it”); Classic Foods Int’l Corp. v. Kettle Foods, Inc., 2006
                        U.S. Dist. LEXIS 97200, at *13-14 (C.D. Cal. Mar. 2, 2006) (“any deficiencies in
                   26   the survey’s methodology are properly addressed by cross-examination at trial rather
                   27   than outright exclusion. The jury should be permitted to assess the survey's
                        reliability for itself.”).
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                    1 II.        LEGAL STANDARD
                    2            Under Daubert v. Merrell Dow Pharmaceuticals and its progeny, evaluating
                    3 the admissibility of an expert’s report consists of assessing the expert’s “reasoning
                    4 or methodology, using as appropriate such criteria as testability, publication in peer
                    5 reviewed literature, and general acceptance, but the inquiry is a flexible one. Shaky
                    6 but admissible evidence is to be attacked by cross examination, contrary evidence,
                    7 and attention to the burden of proof, not exclusion.” Alaska Rent-A-Car, Inc. v. Avis
                    8 Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013) (citing Daubert v. Merrell Dow
                    9 Pharms., Inc., 509 U.S. 579 (1993)). Expert testimony is relevant if “the knowledge
                   10 underlying it has a valid connection to the pertinent inquiry[] [a]nd it is reliable if
                   11 the knowledge underlying it has a reliable basis in the knowledge and experience of
                   12 the relevant discipline.” Alaska Rent-A-Car, Inc., 738 F.3d at 969.
                   13            Importantly, the Ninth Circuit has held that this Court “is supposed to screen
                   14 the jury from unreliable nonsense opinions, but not exclude opinions merely because
                   15 they are impeachable.” Id. at 969 (9th Cir. 2013) (emphasis added). That is, the
                   16 Court “is not tasked with deciding whether the expert is right or wrong, just whether
                   17 his testimony has substance such that it would be helpful to a jury.” Id. at 969-70.
                   18 And “[d]isputes as to the strength of [an expert’s] credentials, faults in his use of [a
                   19 particular] methodology, or lack of textual authority for his opinion, go to the
                   20 weight, not the admissibility, of his testimony.” Kennedy v. Collagen Corp., 161
                   21 F.3d 1226, 1231 (9th Cir. 1998) (citation omitted).
                   22 III.       ARGUMENT
                   23            A.        Dr. Hibbard’s Survey Is Well Suited For Determining Class
                                           Knowledge And Materiality Which Is Evidence That is Critically
                   24                      Important on Certification Under Mazza.
                   25            Plaintiffs’ arguments that Dr. Hibbard’s survey is not suited for determining
                   26 class knowledge and the impact of nondisclosure (Mot. Sec. II.A.) are wrong. Their
                   27 claims run afoul of generally accepted survey standards and contradict Plaintiffs’

LEWIS              28 ancillary arguments and cited authority.
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                    1            Plaintiffs first argue Dr. Hibbard’s survey is flawed because he “did not ask
                    2 respondents whether they knew that the range extender decelerates abruptly with a
                    3 sudden and terrifying loss in speed…” (Mot. at 3:4-6) (emphasis added). But this is
                    4 merely Plaintiff’s argumentative theory of liability in this case. It is not a neutral
                    5 fact that is to be surveyed.                 Indeed, this subjective and emotionally charged
                    6 description of the Range Extender is entirely inconsistent with an objective survey
                    7 disclosure. To take Plaintiffs’ reasoning to its logical end would require a survey
                    8 about disclosures on a cigarette box, for example, to say that “cigarettes cause
                    9 terrifying birth defects” instead of simply stating that “cigarettes cause birth
                   10 defects.” A self-serving disclosure of the Range Extender using extreme words such
                   11 as “abruptly” and “terrifying” is not necessary to conduct a proper survey. In fact, if
                   12 the statement were written in an argumentative manner that favors BMW NA (for
                   13 example, “the range extender safety and comfortably slows down the vehicle”),
                   14 Plaintiffs no doubt would challenge the characterization for not being objective.
                   15            Plaintiffs’ second argument—that Dr. Hibbard “did not let respondents report
                   16 their memories in their own terms, through open-ended questions” (Mot. at 3:9-15)
                   17 and that the survey thus “runs the serious risk of creating false memories” (Mot.,
                   18 Sec. IV.E.)—is equally unavailing. First, Plaintiffs’ own cited authority confirms
                   19 that “[a]n open-ended question [is] not required to create a valid survey question”
                   20 and in fact may make “interpreting the survey results more difficult.”                            1-800
                   21 Contacts, Inc. v. Lens.com, Inc. (“1-800 Contacts”), 2010 U.S. Dist. LEXIS
                   22 132948, at *23 (D. Utah Dec. 15, 2010). That is why the survey in 1-800 Contacts
                   23 gave respondents the option of choosing between “yes,” “no,” or “don’t know.” Id.
                   24 Those are the same options Dr. Hibbard gave respondents for Question No. 3, and
                   25 an even wider array of choices for Question No. 4. (Dkt. 152-21, Expert Report of
                   26 Dr. Jonathan D. Hibbard (“Hibbard Report”) ¶¶ 38-39, 43-44). Moreover, the
                   27 notion that Dr. Hibbard’s failure to ask open-ended questions purportedly led to

LEWIS              28 “suggesting or contaminating memories” (Mot. at 3:9-11) flies in the face of
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                    1 Plaintiffs’ own subsequent arguments that consumer memories are untrustworthy
                    2 due to the risk of importing later memories into earlier ones. (See Mot. Sec. IV.E.).
                    3 Ultimately, the use of close-ended questions versus open-ended questions is not a
                    4 novel survey method and does not compromise Dr. Hibbard’s survey results.2 And
                    5 it certainly is not a criticism that challenges the admissibility of Dr. Hibbard’s
                    6 survey results.
                    7          Although Plaintiffs reference the issue of “false memories,” the crux of their
                    8 argument is that respondents allegedly did not understand the survey questions.
                    9 (See Mot. at 16:5-9) (“This inflates random error by forcing respondents to ‘guess
                   10 because they do not understand the question.’”); (see also id. at 16:9-13) (“the court
                   11 in Potts excluded a survey, in part, because it posed ‘questions that were quite long
                   12 and convoluted…’”). This line of reasoning and authority confuses the survey
                   13 stimulus (here, the pre-question disclosure statement consumers were asked to read)
                   14 with the simple and straight-forward survey questions. Indeed, although Dr.
                   15 Hibbard’s survey consists of a brief multi-part disclosure that is a common attribute
                   16 of most surveys (including the conjoint survey of Plaintiffs’ own expert, Mr.
                   17 Gaskin), Dr. Hibbard’s actual survey questions that follow this disclosure and test
                   18 knowledge and materiality are each discrete and simple questions that no consumer
                   19 would find long, convoluted, or difficult to understand. (Hibbard Report ¶¶ 14-15,
                   20 38, 43).3 Indeed, the cases cited in the Motion, which actually contained long,
                   21
                   22      2
                               Plaintiffs set a double standard by arguing the “responses to Dr. Hibbard’s rare,
                   23   open-ended questions strongly suggest that his respondents did not read the critical
                        information relating to the defect.” (Mot. Sec. IV.C.). Plaintiffs cannot have it both
                   24   ways. Several of the responses to the open-ended questions, which Plaintiffs label a
                        “discrepancy” (Mot. at 11:25), only highlight the fact that respondents who thought
                   25   information was immaterial or unimportant to them have no reason or motivation to
                        expound on their lack of interest or concern for the information.
                   26        3
                               Question 3 asked respondents, “Prior to purchasing or leasing your BMW i3
                   27   with Range Extender, were you aware or not aware that the Range Extender
                        operates as described on the previous screen?” Question 4 asked respondents, “If
LEWIS              28   (footnote continued)
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                     1 convoluted, and confusing survey questions, are nothing like the questions in Dr.
                     2 Hibbard’s survey and serve to establish the simplicity of Dr. Hibbard’s survey
                     3 questions. (See Mot. at 16:9-13) (citing Potts v. Hamilton, 334 F. Supp. 2d 1206,
                     4 1217 (E.D. Cal. 2004).4
                     5            In short, Plaintiffs’ challenge Dr. Hibbard’s disclosure statement from their
                     6 glass house—Mr. Gaskin’s attribute descriptions in his conjoint survey are twice if
                     7 not three times the length of the description Dr. Hibbard included in his survey.
                     8 Plaintiffs’ motion simply evidences their disbelief that respondents are capable of
                     9 comprehending a brief paragraph about a prominent feature in the i3 they leased or
                    10 purchased. Yet Dr. Hibbard’s survey asks that respondents affirm they (1) in fact
                    11 read the disclosure paragraph, and (2) voluntarily chose not to select “I don’t know,”
                    12 which was an option respondents were repeatedly encouraged to select if they did
                    13 not understand the question or know the answer. Again, plaintiffs’ understandable
                    14 dissatisfaction with the results of Dr. Hibbard’s survey is no reason to exclude his
                    15 survey findings.
                    16 //
                    17
                    18
                         you had known prior to your purchase or lease that the Range Extender option
                    19   functions according to the description you read, would this information have
                         changed or not changed your decision to purchase or lease your BMW i3 with
                    20   Range Extender?” (Hibbard Report ¶¶ 38, 43). Neither of these questions are long
                    21   or convoluted. Their reference to the brief stimulus or disclosure about the Range
                         Extender also does not make them long, convoluted, or difficult to understand,
                    22   especially because respondents had the choice to “Click [on a link] to see the
                         description again.” (Id.).
                    23       4
                               In Potts, the court cited the following as an example of a long and convoluted
                    24   question in the survey at issue, which stands in stark contrast to Dr. Hibbard’s
                         survey questions here: “If a dentist promoted himself or herself as a fellow of the
                    25   American Academy of Implant Dentistry and has achieved the distinction of
                         diplomate of the American Board of Oral Implantology through successful
                    26   completion of experiential, educational and testing requirements, would you
                    27   consider that dentist to be a specialist in implant dentistry?” Potts, 334 F. Supp. 2d
                         at 1217 n.9.
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                     1            B.        Dr. Hibbard’s Survey, Like Most Surveys, Is Designed With A
                                            Compound Stimulus Followed By Non-Compound Questions.
                     2
                                  Plaintiffs’ self-created confusion between the survey disclosure and the
                     3
                         survey questions also puts an end to their argument that Dr. Hibbard asked
                     4
                         “compound questions.” While the Motion repeatedly uses the term “compound
                     5
                         question,” Plaintiffs make clear references only to the survey disclosure, which was
                     6
                         not a question at all. Indeed, a cursory review of the actual questions Dr. Hibbard
                     7
                         asked demonstrate they are not compound. The questions Dr. Hibbard asked are:
                     8
                                  Prior to purchasing or leasing your BMW i3 with Range Extender,
                     9            were you aware or not aware that the Range Extender operates as
                    10            described on the previous screen?

                    11            If you had known prior to your purchase or lease that the Range
                    12            Extender option functions according to the description you read,
                                  would this information have changed or not changed your decision to
                    13            purchase or lease your BMW i3 with Range Extender?
                    14
                         (Hibbard Report ¶¶ 38, 43). To the extent Plaintiffs’ argument is that the disclosure
                    15
                         is compound, that argument is without merit. It is commonly accepted that a survey
                    16
                         should realistically simulate the marketplace as closely as possible.                        And Dr.
                    17
                         Hibbard’s disclosure about the Range Extender to respondents closely mimics how
                    18
                         information is transmitted to consumers in the marketplace since product
                    19
                         descriptions are never artificially parsed-out unrelated sentences. (Id. ¶ 34). Indeed,
                    20
                         virtually all marketing surveys are presented this way.                      For example, surveys
                    21
                         routinely involve showing consumers “compound” stimuli (e.g., television
                    22
                         commercials, product              images, packaging          images,     multi-word      phrases     or
                    23
                         descriptions) and then ask simple and non-compound questions about memories,
                    24
                         perceptions, or attitudes relating to the stimulus the consumer was shown. This “real
                    25
                         world” process is precisely what Dr. Hibbard’s survey replicates. (See Hibbard
                    26
                         Report ¶¶ 34, 38, 43).
                    27
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                     1            Plaintiffs’ complaint that Dr. Hibbard did not ask “respondents to affirm or
                     2 deny each of the five factual assertions [in the REx description] separately” (Mot. at
                     3 3:21-24) is nonsensical. Indeed, applying this logic to surveys in other scenarios
                     4 using different stimuli demonstrates the absurdity of Plaintiffs’ proposition: a survey
                     5 testing a commercial ad would not be shown to respondents one frame at a time with
                     6 pictorial elements disaggregated; a survey involving a product package or trade dress
                     7 would not be shown to respondents with materials and elements decomposed; a
                     8 survey involving a website would not be shown to respondents with only a small
                     9 portion of the website; and a survey involving a trademark would not show and test
                    10 a word mark one letter at a time. Plaintiffs contradict themselves by arguing that a
                    11 paragraph stimulus cannot be assessed with a single question when they brag about
                    12 their “highly sophisticated conjoint survey” (Mot. at 2:16-17) since a conjoint study,
                    13 including the one Mr. Gaskin prepared for this case, presents a paragraph or more
                    14 worth of information and then asks for a single response (i.e., a choice). Thus, even
                    15 Plaintiffs’ experts would understand the proper presentation of a stimulus involves
                    16 simulating the compound nature of the stimulus rather than showing an artificially
                    17 decomposed version of it.
                    18            C.         Dr. Hibbard Conducted A Pre-Test For His Survey.
                    19            Plaintiffs’ claim that Dr. Hibbard did not pre-test his survey questions is
                    20 misleading. Dr. Hibbard made clear that he did a “soft launch” as a pre-test for this
                    21 survey:
                    22                      Q:    How did you conduct the pretesting in this case? Sorry. First
                                            question, did you – you did conduct pretesting this case, is that correct?
                    23
                                            A:    I did what we call a soft launch, so maybe about 25 people,
                    24                      respondents took the survey and then typically you pause it and you
                    25                      look through the responses to make sure that the questions seem to be
                                            understood and if there’s open ends that the verbatim seem to be that
                    26                      they’re understanding questions.
                    27
                         Hibbard Depo., p. 44:3-13; see also Hibbard Report, Ex. D. Thus, the claim that Dr.
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                     1 Hibbard did not attempt to ensure the survey was understandable is demonstrably
                     2 false. What Dr. Hibbard did not do is “directly query any of the respondents [after
                     3 the soft launch as to] whether they understood all of the questions.” Id. at 44:14-17.
                     4 That Dr. Hibbard did not directly contact participants in the soft launch to later
                     5 interview them does not mean that he didn’t “pre-test” his survey at all. As Dr.
                     6 Hibbard stated, “[i]n the studies I reviewed, both as an expert and consulting expert,
                     7 I have never seen somebody say I did a pretest and I then contacted the
                     8 respondents to discuss it with them.” Id. at 45:4-8. Thus, the issue is not, as
                     9 Plaintiffs claim, whether Dr. Hibbard conducted a “pre-test.” Rather, the issue is
                    10 whether his decision to contact survey respondents after the soft-launch is a fatal
                    11 error in his survey.
                    12            The answer to this now properly framed issue is clearly no. This is because
                    13 even if Dr. Hibbard had not pre-tested his survey (he did), Plaintiffs readily admit
                    14 that “[b]y itself, [Dr. Hibbard’s] failure to pretest may not serve as grounds for
                    15 exclusion[.]” They nonetheless devote an entire section to argue Dr. Hibbard failed
                    16 to pre-test his survey questions. (Mot. Sec. IV.B.).
                    17            In addition, Dr. Hibbard clearly indicated in his “Quality Control and
                    18 Validation Measures” that “[t]he survey was pre-tested.” (Hibbard Report, Ex. D).
                    19 Specifically, “[b]efore starting the full survey, a small number of surveys were
                    20 conducted online and the data were examined to ensure that the data were being
                    21 recorded and coded properly, that the survey skip patterns were being followed
                    22 accurately, and that responses demonstrated an understanding of the questions.”
                    23 (Id.). This is a standard pre-test methodology and Dr. Hibbard used it in his survey
                    24 study.
                    25            In short, Plaintiffs’ pre-test based attacks of Dr. Hibbard’s survey are yet
                    26 another example of their dissatisfaction with the results of the survey.                           Their
                    27 arguments provide no basis to exclude the survey altogether. Plaintiffs provide no

LEWIS               28 substantive allegations—and they certainly do not cite any evidence or authority—to
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                     1 demonstrate Dr. Hibbard’s survey questions were unclear such that a pre-test would
                     2 have yielded different results.                Nor can they since Dr. Hibbard used simple
                     3 questions to assess consumer awareness and materiality of the Range Extender and
                     4 monitored and inspected the data during sample collection.                           There being no
                     5 problems with the sample collection, Dr. Hibbard continued collecting the data that
                     6 formed the basis of his report.
                     7            D.        Plaintiffs’ Attack On The Premises Underlying Dr. Hibbard’s
                                            Disclosure Of The Range Extender Are Misdirection.
                     8
                                  Equally without merit is Plaintiffs’ contention that the disclosure Dr. Hibbard
                     9
                         provided to respondents about the Range Extender contained “false premises.”
                    10
                         (Mot. Sec. IV.D.). First, Plaintiffs’ critiques regarding the premises underlying the
                    11
                         Range Extender disclosure are disputes of fact that go to the credibility of the survey
                    12
                         findings rather than an attack on the validity of the survey as a whole. Indeed, the
                    13
                         following two examples show Plaintiffs’ arguments are misleading because they
                    14
                         crumble under the weight of the actual record.
                    15
                                                   1. The Check Control Message Was Available On All Cars By
                    16                                Way of a Software Update.
                    17            Plaintiffs complain the last sentence of the Range Extender disclosure in the
                    18 survey, which provides that “[a] Check Control message in the car’s performance
                    19 display indicates an upcoming reduction in drive power” (Hibbard Report ¶ 34), did
                    20 not exist for 40% of the Class Period. (Mot. Sec. IV.D.1.). This is false. While the
                    21 check control message was not initially available on 2014 and early 2015 model
                    22 year i3 REx vehicles, it was available on all vehicles sold after March 15, 2015 and
                    23 was also made available on all vehicles – including those vehicles sold before
                    24 March 15, 2015 – by way of a software update. Thus, all putative class vehicles did
                    25 in fact have the check control message that Plaintiffs claim was not in all cars. The
                    26 motion does not cite any fact to the contrary.
                    27            Moreover, given the 9-state data set contained 144 respondents who had a

LEWIS               28 2015 model year i3 and 42 respondents who had a 2016 model year i3 that likely did
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                     1 have the check control message at issue, the survey results would not be materially
                     2 different even if the 2014 model year cars did not also have the same check control
                     3 message through the software update BMW provided. The Motion ignores both of
                     4 these critical facts.
                     5                             2. Knowledge of the Range Extender Function Did Not
                                                      Decrease Over Time, But Rather Stayed Proportional.
                     6
                                  According to Plaintiffs, “public knowledge of a defect increases over time as
                     7
                         more information become available[,] [so] it follows from that assumption that
                     8
                         respondents with the latest model year cars would have the highest percentage of
                     9
                         responses affirming knowledge and owners and lessees of earlie[r] model year cars
                    10
                         would have the least.” (Mot. at 14:16-20). This statement proves too much and is
                    11
                         an admission that no class can be certified here. If Plaintiffs’ premise is correct,
                    12
                         and public knowledge of an alleged defect must increase over time, how can a class
                    13
                         be certified here on Plaintiffs’ threshold and foundational assumption of classwide
                    14
                         ignorance of how the REx functions throughout the class period? By their own
                    15
                         admission, materiality and knowledge are not “common” among class members – a
                    16
                         fact that Dr. Hibbard’s survey abundantly supports! Under the facts of this case and
                    17
                         under Mazza’s binding authority, a common assumption of classwide ignorance and
                    18
                         materiality as to the alleged omission that is central Plaintiff’s case cannot be used
                    19
                         to certify a class here.
                    20
                                  Moreover, even if this admission were not dispositive of Plaintiffs’
                    21
                         certification request (it is), their claim that “Dr. Hibbard’s data shows the opposite
                    22
                         trend—that 2014 owners and lessees have the highest percentage of respondents
                    23
                         affirming knowledge and 2016 owners and lessees have the lowest” is plain false.
                    24
                         (Mot. at 14:19-23). Plaintiffs irresponsibly ignore basic statistics by making this
                    25
                         claim. To be sure, the 2014, 2015, and 2016 data indicates awareness counts were
                    26
                         42/64, 67/111, and 18/31, respectively, for a total of 127/206. (See Hibbard Report
                    27
                         ¶ 57, Table A). A 3-sample test for equality of proportions without continuity
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                     1 correction returns a chi-square value of .67 and a p-value of .71. The null cannot be
                     2 rejected since .71 exceeds the 95% confidence criterion of .05. In other words, the
                     3 proportions of awareness among the years are not different from one another.
                     4            E.        Dr. Hibbard’s Survey Contains Adequate Control Measures.
                     5            Plaintiffs fare no better with their final argument that Dr. Hibbard “did not
                     6 guard against the natural tendency of yea-saying.” (Mot. Sec. IV.F.). First, they
                     7 incorrectly contend Dr. Hibbard’s survey consisted of only a “yes or no question.”
                     8 (Mot. at 16:16).              A review of the available survey responses clearly shows
                     9 respondents were provided with more than these two options. For example, in
                    10 response to Question No. 3, which was intended to test respondents’ awareness of
                    11 the Range Extender’s operation, respondents were able to choose between the
                    12 following three options:
                    13            Yes, prior to purchasing or leasing my BMW i3 with Range Extender,
                                  I was aware that the Range Extender operates as described on the
                    14
                                  previous screen.
                    15
                                  No, prior to purchasing or leasing my BMW i3 with Range Extender,
                    16            I was not aware that the Range Extender operates as described on the
                    17            previous screen.
                    18            I don’t know.
                    19 (Hibbard Report ¶ 39). And for Question No. 4, which was intended to test the
                    20 materiality of the Range Extender’s function to respondents’ lease or purchase,
                    21 respondents were able to choose between the following six options:
                    22            Definitely would have changed my decision to purchase or lease the
                                  BMW i3 with Range Extender.
                    23
                    24            Probably would have changed my decision to purchase or lease the
                                  BMW i3 with Range Extender.
                    25
                                  May or may not have changed my decision to purchase or lease the
                    26
                                  BMW i3 with Range Extender.
                    27

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                     1            Probably would not have changed my decision to purchase or lease
                                  the BMW i3 with Range Extender.
                     2
                     3            Definitely would not have changed my decision to purchase or lease
                                  the BMW i3 with Range Extender.
                     4
                                  I don’t know if it would have changed my decision to purchase or
                     5
                                  lease the BMW i3 with Range Extender.
                     6
                         (Id. ¶ 44). Critically, Plaintiffs ignore that an “I don’t know” option was available in
                     7
                         both survey questions in the Test Cell and the Control Cell, and that such an option
                     8
                         is a standard and “internal control” for yea-saying.
                     9
                                  Second, Plaintiffs argue “Dr. Hibbard’s fantasy drone option does not provide
                    10
                         an adequate control” (Mot. Sec. IV.F.1.) because “almost no one would find it
                    11
                         plausible.” (Id. at 17:22-24). This argument is devoid of any scientific merit.
                    12
                         Indeed, the fact that the Drone Option is obviously false is precisely why it is an
                    13
                         ideal control for yea-saying. Plaintiffs’ only support for their bizarre argument is
                    14
                         that only one respondent affirmed awareness of the Drone Option. (Mot. at 17:25-
                    15
                         27). But the fact that only one person affirmed awareness of this condition is also
                    16
                         consistent with the fact that Dr. Hibbard’s survey yielded almost zero margin of
                    17
                         error on class knowledge.                Not surprisingly, Plaintiffs ignore this alternative
                    18
                         explanation. (See Mot. Sec. IV.F.1.).
                    19
                                  Finally, Plaintiffs nitpick at the construction of Dr. Hibbard’s London control
                    20
                         group question, arguing it fails for numerous reasons. (Mot. Sec. IV.F.2.). For the
                    21
                         reasons already discussed, arguments like these have no bearing on the admissibility
                    22
                         of Dr. Hibbard’s survey, but rather go to the weight and credibility of his findings.
                    23
                         Even still, Plaintiffs’ entire argument is premised on an incorrect understanding of
                    24
                         the purpose and function of control cells in a survey, as shown by their misguided
                    25
                         belief that the London question is intended to quantify noise in the measure of
                    26
                         awareness. It is not. Rather, it is intended to quantify noise in the measure of
                    27
                         materiality. To that end, since the London information was factual, respondents
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                     1 who responded they are aware were not making an “error” in reporting their
                     2 awareness.
                     3 IV.        CONCLUSION
                     4            Plaintiffs’ Motion to Exclude the opinions of BMW NA’s proposed expert,
                     5 Dr. Jonathan Hibbard, should be denied.
                     6
                     7 DATED: November 20, 2019                        LEWIS BRISBOIS BISGAARD & SMITH                      LLP

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                                                                       By:
                    10
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